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 7

 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10

11 DATE OF SEIZURE: 4/21/2016                         Case No.: 1:16-CR-00069-LJO-SKO
   ITEM: 1969 CHEVROLET CHEVELLE
12
         MAILIBU
13       VIN: 136679B405688                           ORDER
14 SEIZING AGENCY: FEDERAL BUREAU
   OF INVESTIGATION (FBI)
15
   ASSET ID: 16-FBI-003015
16
   SEIZURE NO.: 3720160079
17

18         The court having reviewed the written briefs of the parties, the testimony adduced at the
19 evidentiary hearing on July 29, 2019, the court being fully advised in the premises hereby ORDERS

20 that the 1969 Chevrolet Chevelle Malibu, VIN 136679B405688 be returned to claimant Tawanna

21 Monson forthwith.

22
     IT IS SO ORDERED.
23
       Dated:    August 2, 2019                           /s/ Lawrence J. O’Neill _____
24                                              UNITED STATES CHIEF DISTRICT JUDGE
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